      Case 2:21-cv-04641-AB-KS Document 1 Filed 06/07/21 Page 1 of 8 Page ID #:1



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11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                    WESTERN DIVISION
14
     UNITED STATES OF AMERICA,                No. 2:21-cv-04641
15
               Plaintiff,                     VERIFIED COMPLAINT FOR FORFEITURE
16
                     v.                       18 U.S.C. § 981(a)(1)(A) and (C)
17
     CERTAIN REAL PROPERTY COMMONLY           [FBI]
18   KNOWN AS 9132 TEXAS STREET,
     ROBELINE, LOUISIANA,
19
               Defendant.
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23        The United States of America brings this claim against defendant
24   Certain Real Property Commonly Known as 9132 Texas Street, Robeline,
25   Louisiana, and alleges as follows:
26                              JURISDICTION AND VENUE
27        1.    This is a civil forfeiture action brought pursuant to
28   18 U.S.C. § 981(a)(1)(A) and (C).
      Case 2:21-cv-04641-AB-KS Document 1 Filed 06/07/21 Page 2 of 8 Page ID #:2



 1        2.    This Court has jurisdiction over the matter under 28 U.S.C.

 2   §§ 1345 and 1355.

 3        3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.

 4                               PERSONS AND ENTITIES

 5        4.    Plaintiff in this action is the United States of America.

 6        5.    The defendant is Certain Real Property Commonly Known As

 7   9132 Texas Street, Robeline, Louisiana (“defendant real property”),

 8   and consists of the following:

 9        That certain piece, parcel or plot of land in the Village of

10        Robeline, Natchitoches Parish, Louisiana described as having

11        front of 73 on the West side of Texas Street by a depth between

12        parallel lines of 130 feet, which lot is bounded West by

13        Blackshear, East by Texas Street, North by Flores and South by

14        Idom, together with all buildings and improvements thereon.

15        Named APN: 0063001390.

16        6.      A mobile home described as a 2016 CMH/SE The Jager, 16 x

17   80, serial number RUS069347AL (“mobile home”) is located on the

18   defendant real property and is included therein.

19        7.    The title report on the defendant real property indicates

20   that title to the defendant real property is vested in Cheri Amanda

21   Silva (“Silva”), a single woman.

22        8.    The mobile home is registered in the state of Louisiana in

23   the name of Marvin L. Freeman II (“M. Freeman”) and Jennifer Freeman

24   (“J. Freeman”).    They sold the defendant real property to Silva.

25        9.    The interests of Silva, M. Freeman, and J. Freeman may be

26   adversely affected by these proceedings.

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      Case 2:21-cv-04641-AB-KS Document 1 Filed 06/07/21 Page 3 of 8 Page ID #:3



 1                               BASIS FOR FORFEITURE

 2        10.   This complaint arises from an investigation by the Federal

 3   Bureau of Investigation of a fraudulent Personal Protection

 4   Equipment1 (“PPE”) scheme using wire transfers to transfer money at

 5   the request of the fraudsters.

 6   SUMMARY OF FRAUDULENT SCHEME

 7        11.   As set forth in more detail below, co-conspirator

 8   Christopher Badsey (“Badsey”) represented to victims that he was

 9   selling PPE that was deliverable in short order during a time period

10   when there was an increased demand for PPE, and there was an

11   international shortage of PPE due to the COVID-19 pandemic.            Badsey

12   under false pretenses caused victims to wire money to Badsey and

13   associates of Badsey, directly or indirectly through transfers to

14   other accounts, including accounts held by Silva, some of which were

15   then used to purchase the defendant real property.

16        12.   From at least April 28, 2020 through at least October 29,

17   2020, Silva received proceeds from the PPE scheme through transfers

18   of funds from Badsey and Badsey’s associate Hal Williams’

19   (“Williams”) bank accounts.

20        13.   During the time period April 17, 2020 (account opening

21   date) through October 29, 2020, Silvia received deposits totaling

22   approximately $1,682,787 into FSNB, NA bank account number ending

23   5165 (“FSNB 5165”).     Approximately $1,680,000 or 99% of those

24   deposits were from sources related to the PPE wire fraud scheme

25   conducted by Badsey.     These deposits included the following:

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          1 PPE is equipment worn to minimize exposure to hazards that
     cause serious workplace injuries and illnesses.

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      Case 2:21-cv-04641-AB-KS Document 1 Filed 06/07/21 Page 4 of 8 Page ID #:4



 1              a.    On or about June 18, 2020, three cashier’s checks

 2   totaling $390,000 were deposited into FSNB 5165 which were purchased

 3   with funds from Bank of America account ending in 9161 held in the

 4   name of First Defense Security Services Corp. (“BOA 9161”).            Signers

 5   on the account were Badsey and Williams.         In the three days prior to

 6   the purchase of the cashier’s checks, BOA 9161 received approximately

 7   $2,231,990 of proceeds from victims of the PPE wire fraud scheme.

 8   Approximately 99% of the deposits in BOA 9161 came from victims of

 9   the PPE wire fraud scheme.

10              b.    On or about July 20, 2020, a cashier’s check in the

11   amount of $600,000 was deposited into FSNB 5165, which was purchased

12   with funds from Union Bank account ending in 5494 (“UB 5494”) held in

13   the names of Williams and Janis Williams. Two days prior to the

14   cashier’s check being purchased, UB 5494 received a wire transfer in

15   the amount of $1,050,000 from a PPE wire fraud scheme victim.

16        14.   Between August 20, 2020 and October 20, 2020, Silva

17   deposited cashier’s checks totaling $666,000 into FSNB 5165 from

18   Badsey’s Wells Fargo Bank Account ending in 1794 (“WFB 1794”).                WFB

19   1794 was funded 99.9% with a cashier’s check in the amount of

20   $1,000,000 from UB 5494 held by Williams.         The day before the

21   $1,000,000 cashier’s check was purchased with funds in UB 5494, UB

22   5494 received a wire transfer in the amount of $1,000,000 from a PPE

23   wire fraud scheme victim.

24   PPE WIRE FRAUD SCHEME PROCEEDS

25        15.   Between April 17, 2020, and October 29, 2020, disbursements

26   from Silva’s FSNB 5165 account totaled approximately $1,287,970.73.

27        16.   On or about August 19, 2020, Silva, using FSNB 5165,

28   purchased a cashier’s check in the amount of $58,067.64 payable to

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      Case 2:21-cv-04641-AB-KS Document 1 Filed 06/07/21 Page 5 of 8 Page ID #:5



 1   Complete Title, for the purchase of the defendant real property from

 2   Marvin L. Freeman, II and Jennifer McCall Freeman.          The sales price

 3   of the property was $57,000.

 4        17.   Other disbursements from the account included payments for

 5   the purchase of additional real estate, including a residence for

 6   Silva and a restaurant/bar, two cars, a boat and its trailer, two All

 7   Terrain Vehicles (“ATVs”), a camper, and a tractor.           No payments were

 8   made to businesses which could be identified as PPE suppliers.

 9        18.   On March 1, 2021, the FBI obtained seizure warrants for

10   items purchased by Silva from her FSNB 5165 with proceeds of the PPE

11   wire fraud scheme, including two cars, a boat and its trailer, a

12   camper, two ATVs, and a tractor.       On March 3, 2021, the FBI executed

13   the seizure warrants and interviewed Silva.         Silva admitted to

14   receiving over a million dollars from Badsey and using that money to

15   purchase the items which were being seized that day.           She also

16   admitted to using the money to purchase her residence in Robeline,

17   Louisiana, and a restaurant which had not yet opened, which

18   investigators determined to be the Swamp Frog Bar and Grill located

19   in Zwolle, Louisiana.     Silva stated she was not employed, and her

20   only source of money was from Badsey.

21                              FIRST CLAIM FOR RELIEF

22        19.   Based on the above, plaintiff United States of America

23   alleges that the defendant real property constitutes or is derived

24   from proceeds traceable to violations of 18 U.S.C. § 1343 (wire

25   fraud), which is a specified unlawful activity as defined in 18

26   U.S.C. §§ 1956(c)(7)(A) and 1961(1)(B).        The defendant real property

27   is therefore subject to forfeiture pursuant to 18 U.S.C.

28   § 981(a)(1)(C).

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      Case 2:21-cv-04641-AB-KS Document 1 Filed 06/07/21 Page 6 of 8 Page ID #:6



 1                              SECOND CLAIM FOR RELIEF

 2         20.   Based on the above, plaintiff alleges that the defendant

 3   real property constitutes property involved in multiple transactions

 4   or attempted transactions in violation of 18 U.S.C. § 1957(a), or

 5   property traceable to such property, with the specified unlawful

 6   activity being a violation of 18 U.S.C. § 1343 (wire fraud).            The

 7   defendant real property is therefore subject to forfeiture pursuant

 8   to 18 U.S.C. § 981(a)(1)(A).

 9         WHEREFORE, plaintiff United States of America prays:

10         (a)   that due process issue to enforce the forfeiture of the

11   defendant real property;

12         (b)   that due notice be given to all interested parties to

13   appear and show cause why forfeiture should not be decreed;

14         (c)   that this Court decree forfeiture of the defendant real

15   property to the United States of America for disposition according to

16   law; and

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      Case 2:21-cv-04641-AB-KS Document 1 Filed 06/07/21 Page 7 of 8 Page ID #:7



 1        (d)   for such other and further relief as this Court may deem

 2   just and proper, together with the costs and disbursements of this

 3   action.

 4
     Dated: June 7, 2021                  TRACY L. WILKISON
 5                                        Acting United States Attorney
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                                          Chief, Criminal Division
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                                          Assistant United States Attorney
 8                                        Chief, Asset Forfeiture Section

 9
                                             /s/ Brent A. Whittlesey
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                                          Assistant United States Attorney
11
                                          Attorneys for Plaintiff
12                                        UNITED STATES OF AMERICA

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     Case 2:21-cv-04641-AB-KS Document 1 Filed 06/07/21 Page 8 of 8 Page ID #:8




 1                                               VERIFICATION

 2        I, Heather          Campbell,       hereby    declare       that:

 3        1.      I am a Special             Agent    with    the    Federal       Bureau     of

 4   Investigation     and      I am a case          agent    for the       forfeiture        matter

 5   entitled    United       States    v. Certain       Real       Property       Commonly        Known   as

 6   9132 Texas     Street,      Robeline,        Louisiana.

 7        2.      I have       read    the above       Verified       Complaint       for     Forfeiture         and

 8   know its contents.            It is based         upon    my own personal           knowledge         and

 9   reports    provided       to me by other          law enforcement             agents.

10        3.      Everything          contained       in the Complaint             is true     and correct,

11   to the best     of my      knowledge       and belief.

12        I declare        under      penalty     of perjury         that    the    foregoing        is true

13   and correct.

14        Executed        ~             )I        , 2021      in Los Angeles,          California.

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                                                             Special    Agent
                                                             FEDERAL    BUREAU       OF INVESTIGATION
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